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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )    Chapter 11
                                                                     )
    YELLOW CORPORATION, et al.,1                                     )    Case No. 23-11069 (CTG)
                                                                     )
                              Debtors.                               )    (Joint Administration Requested)
                                                                     )

              NOTICE OF AGENDA OF FIRST DAY MATTERS SCHEDULED FOR
                HEARING ON AUGUST 9, 2023 AT 3:00 P.M. (EASTERN TIME)2


             THE HEARING WILL BE CONDUCTED ENTIRELY VIA ZOOM ONLY.

                Please see below for the connection and registration information.
    Please Note: All individuals participating by video must register at least 2 hours prior to
     the hearing at the provided link. After registering your appearance by Zoom, you will
      receive a confirmation email containing information about joining the hearing. You
                   must use your full name when registering and logging into
                      Zoom or you will not be granted access to the hearing.

                                                Registration Link:

                  https://debuscourts.zoomgov.com/meeting/register/vJIsc-mhrzIjE-bzoH-
                                           5SpctbVpSxEZEe3s



1.           Voluntary Petitions:

             A.       Yellow Corporation [Case No. 23-11069, Docket No. 1]

             B.       1105481 Ontario, Inc. [Case No. 23-11070, Docket No. 1]

             C.       Express Lane Service, Inc. [Case No. 23-11071, Docket No. 1]


1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’
      principal place of business and the Debtors’ service address in these chapter 11 cases is: 10990 Roe Avenue,
      Overland Park, Kansas 66211.
2
      All motions and other pleadings referenced herein are available online at the following web address:
      https://dm.epiq11.com/YellowCorporation.



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        D.       New Penn Motor Express LLC [Case No. 23-11072, Docket No. 1]

        E.       Roadway Express International, Inc. [Case No. 23-11073, Docket No. 1]

        F.       Roadway LLC [Case No. 23-11074, Docket No. 1]

        G.       Roadway Next Day Corporation [Case No. 23-11075, Docket No. 1]

        H.       USF Bestway Inc. [Case No. 23-11076, Docket No. 1]

        I.       USF Dugan Inc. [Case No. 23-11077, Docket No. 1]

        J.       USF Holland International Sales Corporation [Case No. 23-11078, Docket No. 1]

        K.       USF Holland LLC [Case No. 23-11079, Docket No. 1]

        L.       USF Red Star LLC [Case No. 23-11080, Docket No. 1]

        M.       USF Reddaway Inc. [Case No. 23-11081, Docket No. 1]

        N.       Yellow Freight Corporation [Case No. 23-11082, Docket No. 1]

        O.       Yellow Logistics Inc. [Case No. 23-11083, Docket No. 1]

        P.       YRC Association Solutions, Inc. [Case No. 23-11084, Docket No. 1]

        Q.       YRC Enterprise Services, Inc. [Case No. 23-11085, Docket No. 1]

        R.       YRC Freight Canada Company [Case No. 23-11086, Docket No. 1]

        S.       YRC Inc. [Case No. 23-11087, Docket No. 1]

        T.       YRC International Investments, Inc. [Case No. 23-11088, Docket No. 1]

        U.       YRC Logistics Inc. [Case No. 23-11089, Docket No. 1]

        V.       YRC Logistics Services, Inc. [Case No. 23-11090, Docket No. 1]

        W.       YRC Mortgages, LLC [Case No. 23-11091, Docket No. 1]

        X.       YRC Regional Transportation, Inc. [Case No. 23-11092, Docket No. 1]




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                                      First Day Declaration

2.      Declaration of Matthew A. Doheny, Chief Restructuring Officer of Yellow Corporation,
        in Support of Debtors’ Chapter 11 Petitions and First Day Motions [Filed 8/7/2023, Docket
        No. 14]

        Status: The Debtors will ask the Court to admit the declaration into evidence. To the extent
        the Court or any party in interest have questions regarding the declaration or the factual
        bases for the first-day relief the Debtors seek, the declarant will be available via Zoom
        videoconference.

                                     Administrative Motions

3.      Motion of Debtors for Entry of an Order (I) Directing Joint Administration of Chapter 11
        Cases and (II) Granting Related Relief [Filed 8/7/2023, Docket No. 3]

        Status: This matter is going forward.

4.      Application of Debtors for Entry of an Order (I) Authorizing and Approving the
        Appointment of Epiq Corporate Restructuring, LLC as Claims and Noticing Agent and (II)
        Granting Related Relief [Filed 8/7/2023, Docket No. 11]

        Status: This matter is going forward.

5.      Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing the Debtors to (A)
        File a Consolidated List of Creditors in Lieu of Submitting a Separate Mailing Matrix for
        Each Debtor, (B) File a Consolidated List of the Debtors’ Thirty Largest Unsecured
        Creditors, (C) Serve Certain Parties in Interest by Email, (D) Approve the Form and
        Manner of Service of the Notice of Commencement, and (E) Redact Certain Personally
        Identifiable Information of Natural Persons, (II) Waiving the Requirement to File A List
        of Equity Security Holders, and (III) Granting Related Relief [Filed 8/7/2023, Docket No.
        7]

        Status: This matter is going forward with respect to an interim order.

6.      Motion of Debtors for Entry of an Order (I) Authorizing Yellow Corporation to Act as
        Foreign Representative Pursuant to 11 U.S.C. § 1505, and (II) Granting Related Relief
        [Filed 8/7/2023, Docket No. 9]

        Status: This matter is going forward.

                                      DIP Financing Motion

7.      Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing the Debtors to (A)
        Obtain Postpetition Financing and (B) Utilize Cash Collateral, (II) Granting Liens and
        Superpriority Administrative Expense Claims, (III) Modifying the Automatic Stay, (IV)
        Authorizing the Debtors to Use UST Cash Collateral, (V) Granting Adequate Protection,



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        (VI) Scheduling a Final Hearing, and (VII) Granting Related Relief [Filed 8/7/2023,
        Docket No. 16]

        Related Documents:

        A.       Declaration of Brian Whittman, Managing Director of Alvarez & Marsal North
                 America, LLC, In Support of the Debtors’ Motion for Entry of Interim and Final
                 Orders (I) Authorizing the Debtors to (A) Obtain Postpetition Financing and (B)
                 Utilize Cash Collateral, (II) Granting Liens and Superpriority Administrative
                 Expense Claims, (III) Modifying the Automatic Stay, (IV) Authorizing the Debtors
                 to Use UST Cash Collateral, (V) Granting Adequate Protection, (VI) Scheduling a
                 Final Hearing, and (VII) Granting Related Relief [Filed 8/7/2023, Docket No. 17]

        B.       Declaration of Cody Leung Kaldenberg, Founding Member and Partner at Ducera
                 Partners, In Support of the Debtors’ Motion for Entry of Interim and Final Orders
                 (I) Authorizing the Debtors to (A) Obtain Postpetition Financing and (B) Utilize
                 Cash Collateral, (II) Granting Liens and Superpriority Administrative Expense
                 Claims, (III) Modifying the Automatic Stay, (IV) Authorizing the Debtors to Use
                 UST Cash Collateral, (V) Granting Adequate Protection, (VI) Scheduling a Final
                 Hearing, and (VII) Granting Related Relief [Filed 8/7/2023, Docket No. 18]

        Status: This matter is going forward with respect to an interim order. The Debtors will ask
        the Court to admit the declarations into evidence. To the extent the Court or any party in
        interest have questions regarding the declarations or the factual bases for the first-day relief
        the Debtors seek, the declarants will be available via Zoom videoconference.

                             First Day Motions Pertaining to Operations

8.      Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing the Debtors to (A)
        Continue to Operate Their Cash Management System, (B) Honor Certain Prepetition
        Obligations Relating Thereto, (C) Maintain Existing Business Forms, and (D) Perform
        Intercompany Transactions and (II) Granting Related Relief [Filed 8/7/2023, Docket No.
        10]

        Status: This matter is going forward with respect to an interim order.

9.      Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing the Debtors to (A)
        Pay Prepetition Wages, Salaries, Other Compensation, and Reimbursable Expenses and
        (B) Continue Employee Benefits Programs, and (II) Granting Related Relief [Filed
        8/7/2023, Docket No. 20]

        Status: This matter is going forward with respect to an interim order.

10.     Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing the Payment of
        Certain Prepetition and Postpetition Taxes and Fees and (II) Granting Related Relief [Filed
        8/7/2023, Docket No. 5]

        Status: This matter is going forward with respect to an interim order.

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11.     Motion of Debtors for Entry of Interim and Final Orders (A)(I) Approving the Debtors’
        Proposed Adequate Assurance of Payment for Future Utility Services, (II) Prohibiting
        Utility Providers from Altering, Refusing, or Discontinuing Services, (III) Approving the
        Debtors’ Proposed Procedures for Resolving Adequate Assurance Requests, and (B)
        Granting Related Relief [Filed 8/7/2023, Docket No. 13]

        Status: This matter is going forward with respect to an interim order.

12.     Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing the Debtors to (A)
        Maintain Insurance Coverage Entered Into Prepetition and Pay Related Prepetition
        Obligations and (B) Renew, Supplement, Modify, or Purchase Insurance Coverage, (II)
        Approving Continuation of the Surety Bond Program, and (III) Granting Related Relief
        [Filed 8/7/2023, Docket No. 6]

        Status: This matter is going forward with respect to an interim order.

13.     Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing Debtors to Pay
        Prepetition Claims of Certain Critical Vendors, 503(b)(9) Claimants, Lien Claimants, and
        Foreign Vendors, (II) Confirming Administrative Expense Priority of Outstanding Orders,
        and (III) Granting Related Relief [Filed 8/7/2023, Docket No. 12]

        Status: This matter is going forward with respect to an interim order.

14.     Motion of Debtors for Entry of Interim and Final Orders (I) Approving Notification and
        Hearing Procedures for Certain Transfers of Common Stock and (II) Granting Related
        Relief [Filed 8/7/2023, Docket No. 4]

        Status: This matter is going forward with respect to an interim order.

15.     Motion of the Debtors for Entry of Interim and Final Orders (I) Authorizing the Debtors to
        Consent to Limited Relief from the Automatic Stay to Permit Setoff of Certain Customer
        Claims Against the Debtors, and (II) Granting Related Relief [Filed 8/7/2023, Docket No.
        19]

        Status: This matter is going forward with respect to an interim order.

                                     Motion for Scheduling

16.     Motion of the Debtors for Entry of an Order (I)(A) Approving Bidding Procedures for the
        Sale or Sales of the Debtors’ Assets; (B) Scheduling an Auction and Approving the Form
        and Manner of Notice Thereof; (C) Approving Assumption and Assignment Procedures,
        (D) Scheduling a Sale Hearing and Approving the Form and Manner of Notice Thereof;
        (II)(A) Approving the Sale of the Debtors’ Assets Free and Clear of Liens, Claims, Interests
        and Encumbrances and (B) Approving the Assumption and Assignment of Executory
        Contracts and Unexpired Leases; and (III) Granting Related Relief [Filed 8/7/2023, Docket
        No. 22]



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        Status: This matter is going forward for scheduling purposes only and the bid procedures
        motion will be heard at a later hearing. The Debtors will seek to schedule the bid
        procedures motion on an expedited basis.

Dated: August 7, 2023
Wilmington, Delaware

/s/ Laura Davis Jones
Laura Davis Jones (DE Bar No. 2436)            Patrick J. Nash Jr., P.C. (pro hac vice pending)
Timothy P. Cairns (DE Bar No. 4228)            David Seligman, P.C. (pro hac vice pending)
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                                               Proposed Co-Counsel for the Debtors and Debtors in
                                               Possession




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